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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

South Carolina Electric & Gas Company,           )        Civil Action No.: 3:18-cv-01795-JMC
                                                 )
                                Plaintiff,       )
                                                 )
                v.                               )
                                                 )
                                                 )
Cromer H. Randall, in his official capacity      )
as Chairman of the South Carolina Public         )
Service Commission; Swain E. Whitfield, in       )
his official capacity as Commissioner of the     )               ORDER AND OPINION
South Carolina Public Service Commission;        )
John E. Howard, in his official capacity as      )
Commissioner of the South Carolina Public        )
Service Commission; Elliot F. Elam, Jr., in his  )
official capacity as Commissioner of the         )
South Carolina Public Service Commission;        )
G. O’Neal Hamilton, in his official capacity     )
as Commissioner of the South Carolina            )
Public Service Commission; and Thomas J.         )
Ervin, in his official capacity as Commissioner  )
of the South Carolina Public Service Commission, )                          
                                                 )
                                           1
                                Defendants.      )
__________________________________________)

       Plaintiff South Carolina Electric & Gas Company (“SCE&G”) brings this action pursuant

to 42 U.S.C. § 1983 alleging constitutional claims against the following Defendants in their

official capacities as Commissioners of the South Carolina Public Service Commission (“PSC”):

Swain E. Whitfield, Comer H. Randall, John E. Howard, Elliot F. Elam, Jr., Thomas J. Ervin, and G.

O’Neal Hamilton (collectively, “Defendants”). (ECF No. 68.) Specifically, SCE&G alleges that

                                                       
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   On July 1, 2018, the terms of former Defendants Robert T. Bockman and Elizabeth Fleming
expired; Thomas J. Ervin began his term as a Commissioner of the South Carolina Public Service
Commission; and, Cromer H. Randall became the Chairman of the South Carolina Public
Service Commission. Pursuant to Federal Rule of Civil Procedure 25(d), Plaintiff substituted the
parties accordingly in its Amended Verified Complaint. (Compare ECF No. 1 with ECF No.
68.)

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its rights under the Due Process Clause of the Fourteenth Amendment to the United States

Constitution; the Bill of Attainder Clause of Article 1, § 10 of the United States Constitution; and

the Takings Clause of the Fifth and Fourteenth Amendments to the United States Constitution

were violated when the South Carolina General Assembly passed 2018 South Carolina Laws Act

287 (H.B. 4375) (“Act 287”2) and 2018 South Carolina Laws Resolution 285 (S. 0954)

(“Resolution 285”).3 (ECF No. 68 at 7 ¶ 18 & 47 ¶ 239–53 ¶ 284.)

       This matter is before the court by way of Motions to Dismiss pursuant to Rules 12(b)(1)

and 12(b)(6) filed by Defendants and by South Carolina House of Representatives Speaker Jay

Lucas (“Speaker Lucas”) and South Carolina Senate President Pro Tempore Hugh K.

Leatherman, Sr. (“President Leatherman”)4 (together, “Intervenor Defendants”).5 (ECF Nos. 76,

77, 78.) SCE&G opposes these Motions in their entirety. (ECF No. 91.) For the reasons set

forth below, the court DENIES Defendants and Intervenor Defendants’ Motions to Dismiss

(ECF Nos. 76, 77, 78).

                I.       RELEVANT BACKGROUND TO PENDING MOTIONS

       This case arises out of SCE&G’s abandonment of the construction of two nuclear

reactors known as V.C. Summer Units 2 and 3 (the “Project”) in Jenkinsville, South Carolina,

and the South Carolina General Assembly’s passage of Act 287 and Resolution 285. (E.g., ECF

No. 1 at 17 ¶¶ 81–82, 43 ¶ 220.) The purpose of the Project was to increase SCE&G’s base load

capacity and enable it to meet the electricity demands of its South Carolina customers. (See ECF

                                                       
2
   “Act 287” was ratified as “R287,” but is enumerated as Act 258. To be consistent with the
filings in this case, the court will refer to 2018 South Carolina Laws Act 287 as “Act 287.”
3
   Act 287 became law on June 28, 2018, and Resolution 285 became law on July 2, 2018.
4
   President Leatherman only cites to Federal Rule of Civil Procedure 12(b)(1) as the basis for his
Motion to Dismiss. (See ECF No. 78.) 
5
   On July 18, 2018, the court granted Motions to Intervene filed by Intervenor Defendants. (ECF
Nos. 41, 82.)



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No. 68 at 7 ¶ 20, 13 ¶ 54–14 ¶ 61.) SCE&G’s incentive for the Project occurred as a result of the

South Carolina General Assembly’s passage of the Base Load Review Act, S.C. Code Ann. § 58-

33-210 et seq. (20156) (“BLRA”), which became “effective upon signature of the Governor on

May 3, 2007.” S.C. Code Ann. § 58-33-210.

       SCE&G alleges that from 2008 through 2016, the PSC approved revised rates, permitting

SCE&G to recover for the capital costs of the Project amounting to $445 million annually. (ECF

No. 68 at 29 ¶ 141; see also ECF Nos. 1-5 to 1-12.) On or around July 31, 2017, SCE&G alleges

it was forced by specified circumstances to conclude it could not complete the Project and

“announce[] that it would cease construction of the Units and request[] recovery of its abandoned

costs, an outcome expressly contemplated by the BLRA.” (ECF No. 68 at 31–32 ¶ 158.)

       SCE&G alleges that in response to the Project’s abandonment, the South Carolina

General Assembly passed Act 287 and Resolution 285. (ECF No. 68 at 36 ¶ 177.) Further,

SCE&G alleges that with the passage of Act 287 and Resolution 285, the South Carolina General

Assembly modified the process that was in place for establishing and revising utility rates. Act

287 instructed the PSC to set utility rates for SCE&G at a level equal to their current rates less

the increases previously granted under the BLRA within five (5) days of the passage of the Act.

2018 S.C. Acts 258 § 3. Act 287 specified the “experimental rate” would be effective from the

PSC’s implementation until the conclusion of the abandonment proceedings regarding the

Project currently before the PSC. Id. Resolution 285 prohibited the PSC from holding a hearing

or issuing a final decision in the abandonment proceedings prior to November 1, 2018. 2018

S.C. Acts 285 § 1. Both the Act and the Resolution repealed any sections of law in conflict with


                                                       
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   All South Carolina Code sections from Title 58 are included in the 2015 codification of Title
58, and the court declines to repeat the year in each citation.



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their operation. 2018 S.C. Acts 258 § 2; 2018 S.C. Acts 285 § 3.

        On June 29, 2018, SCE&G filed its Verified Complaint for Declaratory Judgment and

Temporary, Preliminary, and Permanent Injunctive Relief against Defendants challenging the

constitutionality of both Act 287 and Resolution 285, asserting the elimination of the rate

increases violates SCE&G’s constitutional rights and “impermissibly interfere[s] with interstate

commerce.” (ECF No. 1 at 2 ¶ 2.) This lawsuit does not challenge or seek review of any PSC

order. (Id. at 3 ¶ 4.)

        On July 3, 2018, the PSC set an experimental rate, as required by Act 287. (See ECF No.

33-4.) The PSC’s July 3, 2018 Order directs SCE&G to begin implementing the experimental

rate in the first billing cycle in August, which begins on August 7, 2018. (ECF No. 33-4; ECF

No. 9 at 2.)

        On July 20, 2018, Defendants and Intervenor Defendants filed Motions to Dismiss. (ECF

Nos. 48, 50, 52.) On July 26, 2018, the court granted in part and denied in part those Motions,

dismissed the Complaint, and granted SCE&G leave to file an amended complaint until July 27,

2018. (ECF No. 67.) On July 27, 2018, SCE&G filed an Amended Complaint, renewing its

request that the court: (1) “Enter a declaratory judgment declaring Act 287 and Resolution 285

are unconstitutional in that they constitute an unlawful taking; violate the substantive and

procedural components of the Due Process Clause, and constitute an unlawful bill of attainder”;

and (2) “Enter a temporary, preliminary and permanent injunction directing the Chairman and

Commissioners of the PSC, and their officers, agents, servants, employees, and attorneys, and

any other persons who are in active concert or participation with them, to refrain from

implementing Act [287] and Joint Resolution [285].” (ECF No. 68 at 53.)

        On July 28, 2018, Defendants and Intervenor Defendants filed renewed Motions to




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Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and (b)(6)7 (ECF Nos. 76, 77, 78).

On July 30, 2018, SCE&G filed a response in opposition (ECF No. 91). The court heard the

parties’ arguments regarding the Motions to Dismiss during the Preliminary Injunction hearing

on July 30–31, 2018.

                                    II.     LEGAL STANDARD

A.     Motions to Dismiss Pursuant to Rule 12(b)(1)

       A Rule 12(b)(1) motion for lack of subject matter jurisdiction raises the fundamental

question of whether a court has jurisdiction to adjudicate the matter before it. Fed. R. Civ. P.

12(b)(1). “Federal courts are courts of limited subject matter jurisdiction, and as such there is no

presumption that the court has jurisdiction.” Pinkley, Inc. v. City of Fredrick, Md., 191 F.3d 394,

399 (4th Cir. 1999). In determining whether jurisdiction exists, the court is to “regard the

pleadings’ allegations as mere evidence on the issue, and may consider evidence outside the

pleadings without converting the proceeding to one for summary judgment.”                Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991) (citing

Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)). “The moving party should prevail only if

the material jurisdictional facts are not in dispute and the moving party is entitled to prevail as a

matter of law.” Id. (citation omitted). “[W]here a party challenges the subject matter jurisdiction

of the court on the grounds that the party is an arm of the state entitled to sovereign immunity,

the burden of persuasion lies with the party asserting the immunity.” Hutto v. S.C. Ret. Sys., 899

F. Supp. 2d 457, 466 (D.S.C. 2012) (citing Woods v. Rondout Valley Cent. Sch. Dist. Bd. of


                                                       
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   Defendants and Intervenor Defendants incorporated all of the arguments from their previous
Motions to Dismiss and requested that the court reconsider its analysis denying those Motions.
(ECF No. 76-1 at 6; ECF No. 77-1 at 2 n.1; ECF No. 78-1 at 1, 3.) For the present Motions to
Dismiss, the court considers all arguments presented by Defendants and Intervenor Defendants.



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Educ., 466 F.3d 232, 237 (2d Cir. 2006)).

B.      Motions to Dismiss Pursuant to Rule 12(b)(6)

        A Rule 12(b)(6) motion for failure to state a claim upon which relief can be granted

“challenges the legal sufficiency of a complaint.” Francis v. Giacomelli, 588 F.3d 186, 192 (4th

Cir. 2009) (citations omitted); see also Republican Party of N.C. v. Martin, 980 F.2d 943, 952

(4th Cir. 1992) (“A motion to dismiss under Rule 12(b)(6) . . . does not resolve contests

surrounding the facts, the merits of a claim, or the applicability of defenses.”). To be legally

sufficient, a pleading must contain a “short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

        A Rule 12(b)(6) motion should not be granted unless it appears certain the plaintiff can

prove no set of facts that would support her claim and would entitle her to relief. Mylan Labs.,

Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). When considering a Rule 12(b)(6) motion,

the court should accept as true all well-pleaded allegations and should view the complaint in the

light most favorable to the plaintiff. Ostrzenski v. Seigel, 177 F.3d 245, 251 (4th Cir. 1999);

Mylan Labs., Inc., 7 F.3d at 1134. “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id.




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                                        III.   ANALYSIS

A.     The Johnson Act8

       The Johnson Act codified at 28 U.S.C. § 1342 states that:

       The district courts shall not enjoin, suspend or restrain the operation of, or
       compliance with any order affecting rates chargeable by a public utility and made
       by a state administrative agency or a rate-making body of a State political
       subdivision, where: (1) jurisdiction is based solely on diversity of citizenship or
       repugnance of the order to the Federal Constitution; (2) the order does not
       interfere with interstate commerce; (3) the order has been made after reasonable
       notice and hearing; and (4) a plain, speedy and efficient remedy may be had in the
       courts of such State.

       Defendants and Intervenor Defendants argue, in their original and present Motions to

Dismiss, as well as at the preliminary injunction hearing, the Johnson Act applies because they

interpret SCE&G to be challenging the PSC’s July 3, 2018 Order. Accordingly, Defendants and

Intervenor Defendants assert that the court should decline jurisdiction over SCE&G’s claims

pursuant to the Johnson Act because there is a plain, speedy and efficient remedy available to

SCE&G in state court. (See ECF Nos. 76, 77, 78.)

       In its Response to Defendants and Intervenor Defendants’ Motions to Dismiss and during

the preliminary injunction hearing, SCE&G clarified that the Johnson Act does not apply

because this lawsuit “seeks an injunction to prevent the PSC’s commissioners from taking any

further actions to implement or enforce th[e] unconstitutional [statutory] provisions [enacted by

the South Carolina General Assembly] or from otherwise taking any actions that violate

SCE&G’s federal constitutional rights.” (ECF No. 91 at 19.) SCE&G also states this position in

its Amended Complaint.       (ECF No. 68 ¶ 4) (“This lawsuit seeks review only of the

                                                       
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   In their previous and renewed Motions to Dismiss, Defendants and Intervenor Defendants make
this argument pursuant to Rule 12(b)(1). (See ECF No. 48-1 at 17; 50-1 at 23; 52-1 at 9; 76-1 at
1.) Speaker Lucas makes his argument pursuant to Rule 12(b)(6) in his renewed Motion. (ECF
No. 77-1 at 12.)



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unconstitutional statutory provisions enacted by the South Carolina General Assembly . . . It

does not ask this Court to review the terms or legality of any order issued by the PSC or any

other South Carolina agency.”).

        The Johnson Act does not divest a court of jurisdiction where “the challenge is not to a

rate ‘order’ but to a statute.” Pub. Utilities Comm’n of the State of Cal. v. United States, 355

U.S. 534, 540 (1958); see also Monongahela Power Co. v. Schriber, 322 F. Supp. 2d 902, 914

(S.D. Ohio 2004) (“Because [the utility] challenges the statute, and not the [agency] orders per

se, the Johnson Act does not divest this Court of jurisdiction.”); cf. Hill v. Kansas Gas Serv. Co.,

323 F.3d 858, 863 (10th Cir. 2003) (explaining that the Johnson Act does not deprive a federal

court of jurisdiction “unless a plaintiff’s challenge is to an ‘order affecting rates’”).

        Here, SCE&G seeks relief from an alleged unconstitutional legislative enactment, not an

agency order. It is not asking the court to enjoin any order, but instead to declare that the Act is

unconstitutional and enjoin Defendants from continuing to violate SCE&G’s constitutional rights

by implementing this allegedly unconstitutional legislation. Indeed, the fact that SCE&G filed

both their original Complaint and their Motion for Preliminary Injunction before the July 3, 2018

Order was issued is informative of SCE&G’s intent to focus on the alleged unconstitutionality of

the legislative enactment, not the Order. (See ECF Nos. 1, 5.) Accordingly, because SCE&G is

not challenging any “order affecting rates,” the Johnson Act does not apply to this matter.

B.      Abstention

        1. Younger Abstention9

        Defendants assert the court should decline jurisdiction over SCE&G’s claims pursuant to

                                                       
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   Defendants appear to make this argument pursuant to Federal Rule of Civil Procedure 12(b)(1).
Having not been advised otherwise, the court analyzes the argument under Rule 12(b)(1). (See
ECF No. 48-1 at 19; ECF No. 76-1 at 1.)



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the Younger abstention doctrine. (ECF No. 76-1 at 1.) The Younger abstention doctrine requires

a court to abstain from exercising jurisdiction over an on-going state proceeding where: (1) the

state proceeding is judicial in nature; (2) the proceeding implicates important state interests; and

(3) there exists an adequate opportunity in the state proceeding to raise constitutional challenges.

Middlesex Ethics Comm’n v. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982) (emphasis

added).

          The South Carolina Supreme Court has held that PSC proceedings are quasi-judicial. See

Util. Servs. of S.C., Inc. v. S.C. Office of Regulatory Staff, 708 S.E.2d 755, 760 (S.C. 2011).

Additionally, South Carolina’s regulation of its public utilities is a vital state interest. “[T]he

regulation of utilities is one of the most important of the functions traditionally associated with

the police power of the states.” Ark. Elec. Coop. Corp. v. Ark. Pub. Serv. Comm’n, 461 U.S.

375, 377 (1983). However, the state proceeding before the PSC does not give SCE&G an

adequate opportunity to raise constitutional challenges because the PSC is not able to rule on a

facial challenge to the constitutionality of a statute. See Travelscape, LLC v. S.C. Dept. of

Revenue, 705 S.E.2d 28, 38 (S.C. 2011) (“While it is true that AL[C]s cannot rule on a facial

challenge to the constitutionality of a regulation or a statute, AL[C]s can rule on whether a law as

applied violates constitutional rights.”) Therefore, the Younger abstention doctrine does not

apply to the present case.

          2. Pullman Abstention10

          Defendants argue the court should abstain from hearing this case because of the

restrictions on federal judicial intervention first enumerated in Railroad Comm’n of Tex. v.

                                                       
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     Defendants appear to make this argument pursuant to Federal Rule of Civil Procedure
12(b)(1). Having not been advised otherwise, the court analyzes the argument under Rule
12(b)(1). (See ECF No. 48-1 at 24; ECF No. 76-1 at 5.)



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Pullman Co., 312 U.S. 496 (1941). “Abstention is ‘an extraordinary and narrow exception to the

duty of a District Court to adjudicate a controversy properly before it.’” Colo. River Water

Conservation Dist. v. U.S., 424 U.S. 800, 813 (1976) (quoting Cty. of Allegheny v. Frank

Mashuda Co., 360 U.S. 185, 188–89 (1959)). The Pullman abstention doctrine applies in cases

presenting a federal constitutional issue that would be mooted by a state court determination of

pertinent law. Id. at 814 (quoting Cty. of Allegheny v. Frank Mashuda Co., 360 U.S. 185, 189

(1959)). Under Pullman, abstention is appropriate where a state statute is susceptible to a

construction by state courts which would dispose of the case and avoid the need for federal

intervention. Meredith v. Talbot Cty., Md., 828 F.2d 228, 231 (4th Cir. 1987). In order for a

state statute to be susceptible to a construction by state courts which would affect the need for

federal intervention, the act must contain some ambiguity. Haw. Hous. Auth. v. Midkiff, 467

U.S. 229, 237 (1984) (quoting Zwickler v. Koota, 389 U.S. 241, 251 n.14 (1967)). In other

words, in order to implicate Pullman, an ambiguity in a state law must be of the type that a

clarifying construction could eliminate the need to reach the constitutional issue. See e.g., Carey

v. Sugar, 425 U.S. 73, 78–79 (1976).

       There is nothing ambiguous about the effect of Act 287 and Resolution 285. Act 287

instructs the PSC to set an experimental rate until the conclusion of proceedings currently before

the PSC regarding the prudency of SCE&G’s abandonment of the Project. 2018 S.C. Acts 258

§§ 2, 3. Resolution 285 sets the time frame during which the PSC can both hear and decide the

merits of those prudency hearings. 2018 S.C. Acts 285 § 1. Therefore, the court finds that Act

287 and Resolution 285 are not ambiguous.

       Defendants draw the court’s attention to the current state court case, see Cleckley v.

SCE&G, 2017-CP-40-04833 (filed Apr. 13, 2018), addressing the constitutionality of the BLRA,




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and assert a decision in that case would impact the issues before this court as described in

Pullman. (ECF No. 48-1 at 24; ECF No. 76-1 at 6.) The court disagrees. A ruling by the state

court in Cleckley would not affect or moot the federal questions raised in this case because a

decision regarding the constitutionality of the BLRA fails to impact Act 287 or Resolution 285.

Additionally, Defendants posit that SCE&G could raise any constitutional issues regarding Act

287 and Resolution 285 in the proceedings at the PSC and this ability strips the court of

jurisdiction under Pullman. (ECF No. 48-1 at 24.) As previously discussed, this assertion is

incorrect because the PSC can only rule on whether a law violates constitutional rights as

applied, not whether a law is constitutional on its face. Travelscape, 705 S.E.2d at 38 (quoting

Dorman v. Dep’t of Health & Envtl. Control, 565 S.E.2d 119, 126 (S.C. Ct. App. 2002)).

Accordingly, Defendants have not presented any evidence to evince that a state court decision is

capable of mooting the federal questions raised in this court.

       3. Burford Abstention11

       Under the Burford abstention doctrine,

       Where timely and adequate state-court review is available, a federal court sitting
       in equity must decline to interfere with the proceedings or orders of state
       administrative agencies: (1) when there are “difficult questions of state law
       bearing on policy problems of substantial public import whose importance
       transcends the result in the case then at bar”; or (2) where the “exercise of federal
       review of the question in a case and in similar cases would be disruptive of state
       efforts to establish a coherent policy with respect to a matter of substantial public
       concern.”

NOPSI12 v. Council of New Orleans, 491 U.S. 350, 361 (1989) (quoting Colo. River Water

Conservation Dist. v. United States, 424 U.S. 800, 814 (1976)).            Only in extraordinary

                                                       
11
     In their previous and renewed Motions to Dismiss, Defendants and Intervenor Defendants
appear to make this argument pursuant to Rule 12(b)(1). (See ECF No. 48-1 at 19; 50-1 at 28;
52-1 at 17; 76-1 at 1; 78-1 at 10.) Speaker Lucas makes his argument pursuant to Rule 12(b)(6)
in his renewed Motion. (ECF No. 77-1 at 12.)



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circumstances does Burford permit a federal court to dismiss a case. Quackenbush v. Allstate

Ins. Co., 517 U.S. 706, 726 (1996).

             At the outset, the court finds timely and adequate state-court review is available, as the

state supreme court and circuit courts of South Carolina have the authority to decide

constitutional law questions presented by petitioners in a declaratory judgment action. See S.C.

Pub. Interest Found. v. S.C. Transp. Infrastructure Bank, 744 S.E.2d 521, 523 (S.C. 2013) (“We

granted Sloan’s petition to bring a declaratory judgment action in our original jurisdiction

challenging the constitutionality of section 11-43-140.”); Ward v. State, 538 S.E.2d 245, 246 n.5

(S.C. 2000) (“Surely, the circuit court has the jurisdiction to hear declaratory judgment actions

on the constitutionality of statutes.”). However, “[t]here is no doubt that the plaintiff may choose

a federal forum to assert his federal rights even though a state remedy may be available.”

Ferrara v. State of La., 322 F. Supp. 1293, 1299 (E.D. La. 1970) (citing Moreno v. Henckel, 431

F.2d 1299 (5th Cir. 1970); Monroe v. Pape, 365 U.S. 167 (1961); Zwickler v. Koota, 389 U.S.

241 (1967)).

             Defendants argue the court should decline to exercise jurisdiction over SCE&G’s claims

under Burford because there are many difficult factual and legal issues underpinning SCE&G’s

constitutional claims that would require the court to decide South Carolina law, disrupting South

Carolina’s efforts to establish a coherent policy.                                                (ECF No. 48-1 at 22–23.)                                 Intervenor

Defendants argue SCE&G’s constitutional claims are all based on the premise that the BLRA

provided SCE&G with a vested property right to continue to charge ratepayers the revised rates

for financing the Project, even under the facts that exist today. (ECF No 50-1 at 31; ECF No 52-

1 at 20.) President Leatherman argues that in determining “th[is] foundational state law issue,”


                                                                                                                                                                               
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    This acronym refers to New Orleans Public Service, Inc.

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the court would necessarily resolve at least four other issues of state law and to do so would be

inappropriate under Burford “because they are state law issues, the resolution of which will

require an extensive factual analysis, . . . SCE&G has filed a petition with the PSC requesting

abandonment rates in which these issues will be resolved, . . . and the PSC has docket 2018-217-

E to implement and monitor the experimental rates for constitutional concerns.” (ECF No. 50-1

at 33.)

          SCE&G acknowledges, and the court recognizes, this case may require the court to

answer questions of state law, but this alone does not necessitate Burford abstention because,

“[w]hile Burford is concerned with protecting complex state administrative processes from

undue federal interference, it does not require abstention whenever there exists such a process,

or even in all cases where there is a ‘potential for conflict’ with state regulatory law or policy.”

NOPSI, 491 U.S. at 362 (emphasis added) (quoting Colo. River, 424 U.S. at 815–16). Moreover,

SCE&G asserts that South Carolina courts have already addressed at least some of the state law

questions that may arise in this case, decreasing the difficulty the court would face in answering

these questions. (ECF No. 91 at 32–33.) Furthermore, here, like in NOPSI, the only issues

raised are federal constitutional questions—there are no state law claims—further minimizing

any foray by the court into state law. NOPSI, 491 U.S. at 361; Quackenbush, 517 U.S. at 726

(stating the only issue raised in NOPSI was a question of federal pre-emption).

          As to the second prong of Burford—the disruption of state efforts to establish a coherent

policy—the court finds the “federal forum [does not] threaten[] to frustrate the purpose” of the

administrative system established by the General Assembly. Quackenbush, 517 U.S. at 725.

Notably, as Defendants and Intervenor Defendants have pointed out, the PSC “currently has

several pending dockets in which it will need to address complex issues surrounding the




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prudency of the costs incurred on the Project, the prudency of abandonment, whether and to what

extent revised rates are recoverable, and the final rate SCE&G will be permitted to charge its

ratepayers.” (ECF No. 52-1 at 20.) The constitutional questions presented by SCE&G will not

disrupt those efforts, as they raise distinct, federal constitutional issues. Therefore, the court

cannot say the questions presented by SCE&G are “best adjudicated in a state forum,”

Quackenbush, 517 U.S. at 728, and declines to abstain under Burford.    

C.     Sovereign Immunity

       Defendants and Speaker Lucas contend the court should dismiss SCE&G’s Amended

Complaint because its allegations fail to demonstrate that Defendants’ actions regarding Act 287

and Resolution 285 allow for application of the Ex parte Young exception to Eleventh

Amendment immunity.13 (ECF No. 76-1 at 2; ECF No. 77-1 at 4.) As the basis for their

contentions, Defendants and Speaker Lucas assert that neither Defendants nor the PSC possess

the power to enforce Act 287 and Resolution 285. (ECF No.76-1 at 3; ECF No. 77-1 at 3–4

(citing, e.g., Utils. Servs., 708 S.E.2d at 760).) Defendants and Speaker Lucas further assert that

enforcement authority for Act 287 and Resolution 285 is expressly vested in the Office of

Regulatory Staff. (Id.) In this regard, Speaker Lucas argues the Ex parte Young exception is

inapplicable because the Amended Complaint’s allegations “fail to allege a ‘connection with the

enforcement of the Act’” and “merely pleads that the PSC implemented Act 287.”14 (ECF No.


                                                       
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     Defendants assert application of sovereign immunity under Rule 12(b)(1), while Speaker
Lucas generally relies on Rule 12(b)(6). (ECF No.76-1 at 2; ECF No. 77-1 at 5–9.)
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     “‘Enforcement’ means ‘the act or process of compelling compliance with a law, mandate,
command, decree, or agreement.’” Meltzer/Austin Rest. Corp. v. Benihana Nat’l Corp., No. A-
11-CV-542-AWA, 2014 WL 7157110, at *4 (W.D. Tex. Dec. 15, 2014) (quoting Black’s Law
Dictionary (10th ed. 2014)). “The term ‘implementation’ means the act of ‘carry[ing] out’ or
‘accomplish[ing]’ or ‘giv[ing] practical effect to and ensur[ing] . . . actual fulfillment by concrete
measures.’” Project Vote/Voting For Am., Inc. v. Long, 752 F. Supp. 2d 697, 707 (E.D. Va.
2010) (quoting Webster’s Third New International Dictionary (2002)).

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77-1 at 4 (citation omitted).) However, even if Ex parte Young is applicable, Speaker Lucas

contends that SCE&G’s suit is barred by (1) application of the special sovereign interest

exception15 to Ex parte Young and (2) the “undeniably monetary” relief requested by SCE&G.

(Id. at 10–11.)

       Under Ex parte Young, 209 U.S. 123 (1908), an exception to Eleventh Amendment

immunity exists wherein a federal court may “issue prospective, injunctive relief against a state

officer to prevent ongoing violations of federal law, on the rationale that such a suit is not a suit

against the state for purposes of the Eleventh Amendment.” McBurney v. Cuccinelli, 616 F.3d

393, 399 (4th Cir. 2010) (citing Ex parte Young, 209 U.S. at 159–60). The Ex parte Young

exception is directed at “officers of the state [who] are clothed with some duty in regard to the

enforcement of the laws of the state, and who threaten and are about to commence proceedings

. . . to enforce against parties affected [by] an unconstitutional act.” 209 U.S. at 155–56. “The

Ex parte Young exception to Eleventh Amendment immunity applies only where a party

‘defendant in a suit to enjoin the enforcement of an act alleged to be unconstitutional’ has ‘some

connection with the enforcement of the act.’” Hutto v. S.C. Ret. Sys., 773 F.3d 536, 550 (4th Cir.

2014) (quoting Ex parte Young, 209 U.S. at 157). “[T]he requirement of ‘some connection with

the enforcement of the act’ means there must be ‘a realistic possibility the official will take legal

or administrative actions against the plaintiff's interests.’” Doe v. Gwyn, 2018 WL 1957788, at

*3 (E.D. Tenn. Apr. 25, 2018) (quoting in Russell v. Lundergan-Grimes, 784 F.3d 1037, 1048

(6th Cir. 2015)); see also Lytle v. Griffith, 240 F.3d 404, 409 (4th Cir. 2001) (observing that a


                                                       
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     If the court determines the relief a plaintiff seeks “is an excessive intrusion into an area of
special state sovereign interest, Ex Parte Young does not apply, and the Eleventh Amendment
bars the suit.” Elephant Butte Irr. Dist. of N.M. v. Dep’t of Interior, 160 F.3d 602, 612 (10th Cir.
1998) (citing Idaho v. Coeur d'Alene Tribe of Idaho, 521 U.S. 261, 287 (1997)).
 


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defendant must have “some connection with the enforcement of the act” or “special relation . . .

to the challenged state action” in order to properly be a party to the suit).

       “Courts have found traceability [or ‘some connection’] where the public official has

taken, or has threatened, actions to enforce a statute alleged to be unconstitutional.” Inclusive

Cmtys. Project, Inc. v. Abbott, C/A No. 3:17-cv-0440-D, 2018 WL 2415034, at *5 (N.D. Tex.

May 29, 2018) (citing K.P. v. LeBlanc, 627 F.3d 115, 123–24 (5th Cir. 2010)). “A plaintiff’s

injury can also be traced to an official who is charged with the authority to enforce, or has

‘definite responsibilities’ related to, the statute in question.” Id. (citing K.P., 627 F.3d at 124).

“So long as a state official is giving effect to a state statute in a manner that allegedly injures a

plaintiff and violates his constitutional rights, an action to enjoin implementation of the statute or

for declaratory relief is available against the state official.” McDaniel v. Precythe, No. 17-1055,

2018 WL 3602371, at *4 (8th Cir. July 27, 2018).              “There need not be an enforcement

proceeding.” Id.; see also Barnes v. Thueme, C/A No. 5:13-2349-RMG, 2013 WL 5781711, at

*2 (D.S.C. Oct. 25, 2013) (“For the Ex parte Young exception to apply, a state official must have

some connection with the enforcement or implementation of the challenged statute.”) (citing

Summers v. Adams, 669 F. Supp. 2d 637, 654 (D.S.C. 2009) (“‘[C]onnection with . . .

enforcement’ is better read as connection with implementation.”)).

       In its Order dismissing the Complaint (ECF No. 67), the court observed that the Ex parte

Young exception is inapplicable “because SCE&G has not stated allegations regarding specific

acts of Defendants showing their enforcement of Act 287 and Resolution 285 that would subject

them to the consequences of their official conduct.” (ECF No. 67 at 26.) To address this failure,

SCE&G added the following relevant allegations in the Amended Complaint:




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      The PSC is charged with implementing the provisions of the Act. Each of the
      defendants, as individual Commissioners on the PSC, have been, and are expected
      to be, personally involved in taking actions to implement the Act and violate
      SCE&G’s constitutional rights. (ECF No. 68 at 6–7 ¶ 17.)
      On July 2, 2018, the PSC issued Order No. 2018-459 (ordered by defendants
      Elam, Ervin, Hamilton, Howard, Randall, and Whitfield) and in furtherance of the
      Act directed SCE&G to reduce its retail electric rates. (Id. at 42 ¶ 203.)
      On July 3, 2018, the PSC issued Order No. 2018-460 (ordered by defendants
      Elam, Ervin, Hamilton, Howard, Randall, and Whitfield), requiring SCE&G to
      reduce its electric rates beginning with the first billing cycle of August 2018.
      These reduced rates will take effect as early as by August 7, 2018. (ECF No. 68
      at 42 ¶ 205.)
      Defendants, acting through the PSC under color of state law, are obligated to
      implement and enforce the Act and Joint Resolution. (Id. ¶ 207.)
      Defendants, acting through the PSC under color of state law, are continuing to
      implement and enforce the Act and Joint Resolution in violation of federal
      constitutional guarantees and in violation of SCE&G’s constitutional rights. (Id. ¶
      208.)
      Unless the Commissioners of the PSC are enjoined from continuing to implement
      the Act and Joint Resolution under color of state law, they will continue to take
      actions that strip SCE&G of its rights and SCE&G will continue to suffer ongoing
      constitutional violations. (Id. at 43 ¶ 214.)
      Because the Act provides that the defendants, acting through the PSC under color
      of state law, must issue an order revoking SCE&G’s right to revised rates, the Act
      will result in immediate and irreparable injury, loss, and damage to SCE&G. (Id.
      at 44 ¶ 215.)
      Because the Act and Joint Resolution violate federal law (and, in particular, the
      United States Constitution), defendants’ ongoing efforts to implement the Act and
      Joint Resolution constitute an ongoing violation of federal law (and, in particular,
      the United States Constitution), against which SCE&G is entitled to prospective,
      injunctive relief. (ECF No. 68 at 46 ¶ 236.)
      Defendants have a sufficient connection to the Act and Joint Resolution because
      they have commenced and threatened to take actions to implement and enforce
      the Act and Joint Resolution against SCE&G, all over SC&EG’s objection and in
      violation of SCE&G’s constitutional rights. (Id. ¶ 237.)
      Implementation of the Act by the defendants, acting through the PSC under color
      of state law, will additionally violate SCE&G’s right to protection against the
      taking of its property without just compensation under the United States
      Constitution. (ECF No. 68 at 48 ¶ 252.)
      Implementation of the Act by the defendants (acting through the PSC under color
      of state law) will violate SCE&G’s right to be free of laws that attach severe, new



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       legal consequences to events completed before the law’s enactment. (Id. at 49 ¶
       261.)
       Implementation of the Act by the defendants (acting through the PSC under color
       of state law) will violate SCE&G’s right to notice and a hearing prior to a
       deprivation of property. (Id. at 51 ¶ 272.)
       Implementation of the Act by the defendants (acting through the PSC under color
       of state law) will work a violation of the Bill of Attainder Clause, U.S. Const. art.
       I, § 10, as to SCE&G. (ECF No. 68 at 52 ¶ 282.)

       In the foregoing allegations, SCE&G necessarily implicates the Ex parte Young exception

because it seeks to enjoin Defendants from future implementation of Act 287 and Resolution

285, which allegedly violate specified rights of SCE&G protected by the United States

Constitution. See Verizon Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (“In

determining whether the doctrine of Ex parte Young avoids an Eleventh Amendment bar to suit,

a court need only conduct a ‘straightforward inquiry into whether [the] complaint alleges an

ongoing violation of federal law and seeks relief properly characterized as prospective.’”) (citing

Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 296 (1997)). In considering Defendants

and Speaker Lucas’ assertions in support of Eleventh Amendment immunity, the court is not

persuaded that SCE&G needed to demonstrate Defendants’ enforcement power as a prerequisite

for application of Ex parte Young. E.g., Am. Express Travel Related Servs. Co., Inc. v. Sidamon-

Eristoff, 755 F. Supp. 2d 556, 568–69 (D.N.J. 2010.) (“It has long been established by the

Supreme Court that the Eleventh Amendment does not preclude lawsuits against state officials in

their official capacities to enjoin violations of federal law even where the remedy would enjoin

enforcement and implementation of an official state policy.”) (citing Ex Parte Young, 209 U.S. at

159–60); Watford v. Quinn, Case No. 14-cv-00571-MJR, 2014 WL 3252201, at *3 (N.D. Ill. July

8, 2014) (“Although the source of an official’s authority is not material, a state official cannot be

sued for prospective injunctive relief unless he or she has some connection to the enforcement or

implementation of the particular law or conduct at issue.”) (citation omitted); Doss v. Young,


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CIV. NO. SA-11-CA-116-FB, 2011 WL 13235041, at *4 (W.D. Tex. July 5, 2011)

(“Implementation of a state policy or custom can be reached in federal court through official-

capacity actions for prospective relief under Ex parte Young.”).

       Upon review, the court is persuaded that SCE&G’s allegations regarding Defendants’

connection with implementation of Act 287 and Resolution 285 is enough to satisfy the Ex parte

Young exception to Eleventh Amendment immunity. Defendants, as Commissioners of the PSC,

are vested “with power and jurisdiction to supervise and regulate the rates and service of every

public utility in this State and to fix just and reasonable standards, classifications, regulations,

practices, and measurements of service to be furnished, imposed, or observed, and followed by

every public utility in this State.” S.C. Code Ann. § 58-3-140(A). The court has previously

observed that Defendants are expressly necessary to the implementation of Act 287 and

Resolution 285. (See ECF No. 67 at 6 (“Act 287 instructed the PSC to set utility rates for

SCE&G at a level equal to their current rates less the increases previously granted under the

BLRA within five (5) days of the passage of the Act.”) (citing 2018 S.C. Acts 258 § 3)).)

Moreover, as observed above, the court is not persuaded that this case involves an excessive

intrusion into an area of special state sovereign interest. Therefore, upon consideration of the

aforementioned allegations in the light most favorable to SCE&G, the court finds the Amended

Complaint states plausible allegations under Ex parte Young charging Defendants with the

implementation of the allegedly unconstitutional Act 287 and Resolution 285. Accordingly, the

court denies the Motions to Dismiss on the basis of Eleventh Amendment immunity.             

                                 V.      CONCLUSION

       For the reasons stated above, the court DENIES Defendants and Intervenor Defendants’

Motions to Dismiss (ECF Nos. 76, 77, 78).




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      IT IS SO ORDERED.




                                         United States District Judge
August 2, 2018
Columbia, South Carolina




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